                Case 1:11-cr-00354-JLT Document 562 Filed 02/05/15 Page 1 of 3



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 4

 5 Attorney for Defendant
   FELIPE GUTIERREZ
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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-00354 LJO
12                                Plaintiff,             STIPULATION REGARDING RDAP
                                                         PROGRAM; FINDINGS AND
13   v.                                                  ORDER
14   FELIPE GUTIERREZ,
15                                Defendant.
16

17         Defendant, Felipe Gutierrez, by and through his counsel of record, TONI WHITE, and the

18 GOVERNMENT hereby stipulate as follows:

19         1.       The Court sentenced Mr. Gutierrez on October 15, 2013. The defendant requested the

20                  RDAP program. The Probation report did not recommend the RDAP program.

21                  Defense counsel requested, at the last minute after a long discussion about the court’s

22                  recommendation on housing within BOP, that defendant receive the RDAP program.

23                  Defense counsel and defendant recalled that the Court said something to the effect of

24                  “that’s fine” with a wave of the hand as sentencing was coming to a close. Defense

25                  counsel and defendant were left with the impression that defendant could apply for

26                  the RDAP program.

27         2.       Defendant contacted defense counsel from custody and indicated that BOP indicated

28                  there was no recommendation for RDAP in defendant’s paperwork. Defense counsel
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                Case 1:11-cr-00354-JLT Document 562 Filed 02/05/15 Page 2 of 3



 1                  checked the judgment and there was no RDAP indication. Defense counsel checked

 2                  with the court clerk who talked to the court reporter who indicated that there was no

 3                  mention of RDAP in the transcript.

 4         3.       Defense counsel cannot now, faced with the transcript, cannot say for certain that

 5                  RDAP was ordered but can say with certainty that both she and the defendant were

 6                  left with a sense of relief after sentencing based on the belief that RDAP was

 7                  recommended.

 8         4.       Defense counsel conferred with probation officer Megan Pascual who had no mention

 9                  of RDAP being recommended in her notes and no independent recollection of it.

10         5.       Defense counsel conferred with AUSA Kimberly Sanchez and she has no objection to

11                  the defendant’s request for the RDAP program if the Court were to now entertain

12                  recommending it.

13          Defendant requests based on the foregoing that the Court issue a recommendation for

14 defendant to participate in the RDAP program.

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16         Dated: February 4, 2015                         BENJAMIN B. WAGNER
                                                           United States Attorney
17
                                                           By:    /s/ Toni White for
18
                                                           Kimberly Sanchez
19                                                         Assistant U.S. Attorney

20                                                         For the United States
21         Dated: February 4, 2015                         By:  /s/ Toni White _
                                                           TONI WHITE
22
                                                           For the Defendant
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           Case 1:11-cr-00354-JLT Document 562 Filed 02/05/15 Page 3 of 3



 1                                    ORDER

 2 IT IS SO ORDERED.

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      Dated:   February 5, 2015                /s/ Lawrence J. O’Neill
 4                                        UNITED STATES DISTRICT JUDGE

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